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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------X
  UNITED STATES OF AMERICA,
                                                                        MEMORANDUM & ORDER

          v.                                                            03-CR-929 (NGG)


  VINCENT BASCIANO, and
  PATRICK DEFILIPPO,

                             Defendants.
  ---------------------------------------------------------X

  GARAUFIS, United States District Judge.

          Defendants Vincent Basciano (“Basciano”) and Patrick DeFilippo (“DeFilippo”)

  (collectively “Defendants”) were indicted in 2004 by a grand jury in the Eastern District of New

  York on racketeering-related charges stemming from their alleged involvement in the Bonanno

  crime family. They proceeded to trial in January 2006. On May 9, 2006, the jury returned a

  partial verdict, convicting Basciano of Racketeering Conspiracy based on three racketeering acts:

  illegal policy or “numbers” gambling, ownership and supervision of joker-poker machines, and

  the attempted murder of David Nunez. There was also evidence presented at trial that Basciano

  received additional proceeds of the Bonanno crime family enterprise’s criminal activities in the

  form of “tribute money.”

          The jury convicted DeFilippo of Racketeering Conspiracy based on four racketeering

  acts: the ownership and supervision of joker-poker machines, the attempted murder of Nunez,

  illegal bookmaking, and the conspiracy to collect extensions of credit through extortionate

  means. DeFilippo was also convicted of counts two through four of the indictment, pertaining to



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  illegal gambling, and count five, conspiring to collect extensions of credit through extortionate

  means.

           The Government now moves this Court for a preliminary order of forfeiture pursuant to

  Rule 32.2 of the Federal Rules of Criminal Procedure. The Government seeks $11,400,000 from

  Basciano in forfeited assets: $5,200,00 from policy gambling revenue, $6,000,000 from joker

  poker machine revenue, and $200,000 in received tribute money. (Government’s Memorandum

  of Law in Support of Findings of Fact on the Criminal Forfeiture Allegations (“Gov. Mem.”) at

  16.) From DeFilippo, the Government seeks $4,376,787 in forfeited assets: $1,500,000 from

  joker poker machine revenue, $2,839,200 from illegal sports betting revenue, and $37,587 from

  loansharking revenue. (Id. at 31.) Basciano now moves this Court to stay the forfeiture

  proceeding until all of his pending criminal proceedings have concluded. (Memorandum of Law

  in Opposition to the Government’s Proposed Findings of Fact and Request for a Preliminary

  Order of Forfeiture (“Basciano Mem.”) at 19-22.) For the reasons set forth below, the

  Government’s motion is GRANTED in part and DENIED in part, and Basciano’s motion is

  DENIED.

  DISCUSSION

           Forfeiture under the RICO statute is mandatory. See United States v. Corrado, 227 F.3d

  543, 552 (6th Cir. 2000); United States v. Rudaj, No. 04 Cr. 1110 (DLC), 2006 U.S. Dist. LEXIS

  45080, at *7 (S.D.N.Y July 5, 2006). A defendant convicted under 18 U.S.C. § 1962 “shall

  forfeit”:

                         (1)    any interest the person has acquired or maintained
                                in violation of section 1962;
                         (2)    any interest in . . . any enterprise which the person


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                                 has established, operated, controlled, conducted, or
                                 participated in the conduct of, in violation of section
                                 1962; and
                         (3)     any property constituting, or derived from, any
                                 proceeds which the person obtained, directly or
                                 indirectly, from racketeering activity or unlawful
                                 debt collection in violation of section 1962.

  18 U.S.C. § 1963(a). The RICO forfeiture provision is broadly drafted, and therefore has “long

  been liberally construed to reach all ‘proceeds’ derived from racketeering activity.” United

  States v. Fruchter, 411 F.3d 377, 384 (2d Cir. 2005); see also United States v. Robilotto, 828

  F.2d 940, 948 (2d Cir. 1987). Consequently, the Government need not provide a precise

  calculation of the proceeds. See United States v. Lizza Industries, Inc., 775 F.2d 492, 498 (2d

  Cir. 1985). And, because forfeiture is imposed on a defendant in personam, the Government

  need not trace the proceeds to specific assets. Robilotto, 828 F.2d at 949. Each defendant is

  jointly and severally liable for all foreseeable proceeds derived from the racketeering activity of

  the enterprise. United States v. Edwards, 303 F.3d 606, 643-44 (5th Cir. 2002); Rudaj, 2006

  U.S. Dist. LEXIS 45080 at *8.

         Because criminal forfeiture is “an aspect of sentencing,” Libretti v. United States, 516

  U.S. 29, 49 (1995), issues of fact relating to forfeiture must be established by a preponderance of

  the evidence, Fruchter, 411 F.3d at 384. Although the total amount of forfeited assets may be

  determined by “conservatively estimating” the revenue regularly collected or received, the

  evidence of such revenue may not be overly speculative. Corrado, 227 F.3d at 555, 557-58.

         “As soon as practicable after a verdict or finding of guilty . . . on any count in an

  indictment or information regarding which criminal forfeiture is sought,” the court “must

  determine what property is subject to forfeiture under the applicable statute.” Fed. R. Crim. P.


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  32(b)(1). When a money judgment is sought, the court determines the appropriate amount of

  payment. Id. If the court finds that the property sought by the Government is subject to

  forfeiture, it must enter a preliminary order of forfeiture without regard to the interest of any third

  party in the property. Id. at 32.2(b)(2).

  I.     Forfeiture Related to Basciano’s Conviction

         Based on Basciano’s conviction for RICO conspiracy, the Government now seeks

  forfeiture in the amount of $11,400,000 from Basciano: $5,200,000 from policy gambling

  proceeds, $6,000,000 from joker poker machine proceeds, and $200,000 in received tribute

  money. (Gov. Mem. at 16.) Basciano now seeks to stay all forfeiture proceedings until the

  conclusion of all of his pending criminal cases. (Basciano Mem. at 19-22.)

         According to Rule 32.2 of the Federal Rules of Criminal Procedure, forfeiture

  proceedings must commence “as soon as practicable” after a finding of guilt. Section 1963 does

  not contain a stay provision. Further, there is nothing to suggest that these forfeiture

  proceedings, which are unrelated to the specific criminal activities charged in the other criminal

  cases pending against Basciano, would jeopardize “his right to aggressively challenge the taking

  of his property without due process of law” for fear of self-incrimination, as he now argues.

  (See Basciano Mem. at 19.) The specific racketeering acts with which Basciano is charged in

  the other pending criminal matters are based on activities separate from those of which he was

  convicted. Furthermore, the only similarity among the cases – Basciano’s association with the

  Bonanno crime family – was already conceded by Basciano at trial. (See Tr. at 2011, 2457,

  2461, 10119.) Therefore, Basciano’s motion to stay the forfeiture proceedings is denied.

         The Government moves for a preliminary order of forfeiture with respect to each of the


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  criminal activities of which Basciano and DeFilippo were convicted at trial. Those activities will

  be addressed in turn.

         A.      Policy Gambling

         Based on the evidence presented at trial, the jury found that Basciano managed part of the

  Bonanno crime family’s illegal policy gambling business from January 1979 until January 2003.

  In calculating the specific sum to be forfeited based on this conviction, the Government assumed

  a weekly revenue of $5,000 for twenty years. (Gov. Mem. at 20-21.) The evidence clearly

  supports this calculation. At trial, Anthony Bottone (“Bottone”), who had worked with Basciano

  in the policy gambling business from the 1980s until 1994, testified that gambling locations

  regularly earned between $5,000 and $30,000 per week in profits during that time period. (Tr. at

  7933, 7938, 7954-55.) Dominic Cicale (“Cicale”), a fellow Bonanno crime family member who

  worked directly under Basciano, testified that from the end of 2003 until January 2005, he

  collected and delivered to Basciano approximately $5,400 per week in policy gambling proceeds.

  He further stated that at some time between 1999 and 2005, Basciano told him that Basciano

  earned $10,000 per week in profits from policy gambling. Ann Caruncho (“Caruncho”), a

  girlfriend of Basciano’s gambling business partner Anthony Colangelo, Sr. (“Colangelo, Sr.”),

  testified that from 1981 until 1987, Basciano gave her between $2,000 and $3,000 per week as

  Colangelo, Sr.’s share in policy gambling profits. (Tr. at 8088-90.) Finally, Police Officer Carlo

  Barbara (“Officer Barbara”) testified that he arrested Basciano twice in 1982 for policy gambling.

  (Tr at 8236-38.)

         An estimation of a $5,000 per week policy gambling profit is conservative given

  Bottone’s testimony that profits could be as much as $30,000 per week, Cicale’s testimony that


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  Basciano actually received $5,400 for at least one and one-half years, and Basciano’s statement

  that he had earned $10,000 in policy gambling profits. The twenty year period of earnings is also

  conservative given the testimony of Caruncho and Cicale, who established that Basciano

  received revenue from the illegal business for, at the very least, twenty-three years, and Officer

  Barbara, whose testimony dates Basciano’s involvement with policy gambling back to 1982, as

  Basciano now concedes. (See Basciano Mem. at 9.) That Caruncho’s recollection was “vague,”

  as Basciano now notes, is of no moment. (See Basciano Mem at 8-9; Tr. at 8090.) Her

  testimony was thoroughly consistent with that of the other witnesses who testified to the

  profitability of policy gambling, and the proof of the proceeds need simply be proven by

  preponderance of the evidence. See Fruchter, 411 F.3d at 384. Taken altogether, the evidence

  clearly supports the Government’s claim to total proceeds of $5,200,000, and its motion that

  Basciano be preliminarily ordered to forfeit that amount is therefore granted.

         B.      Joker Poker Machines

         The jury also found that the evidence at trial proved Basciano’s involvement with an

  illegal joker poker gambling scheme. The evidence that Basciano managed and profited from a

  joker poker gambling business amply supported the jury’s decision. Altogether, eight witnesses

  testified about Basciano’s management of the Bonanno crime family enterprise joker poker

  business, and established that his role in this illegal industry dated back to the early 1980s and

  continued throughout the 1990s. Based on the jury’s verdict, the Government now seeks

  $6,000,000 in forfeited assets based on a calculation of $400,000 per year for fifteen years.

  (Gov. Mem. at 24.) Although it is clear from the witnesses’ testimony that Basciano profited

  immensely from this illegal business, the Government did not elicit at trial adequate evidence


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  upon which to calculate the specific sum of money involved.

          Of the eight witnesses who testified about this issue, only Cicale testified as to the

  amount of money involved in the joker poker gambling business, and all of the figures he

  identified were based on hearsay statements. Cicale’s testified that, at some time between 1999

  and 2005, Basciano told him the following: (1) Basciano made between $300,000 and $500,000

  per year from his joker poker business; (2) Basciano had been in the joker poker business for

  more than twenty years, and (3) Basciano earned an average of $15,000 per month from joker

  poker machines at one of his locations. (Gov. Mem. at 23-24.) Those statements were neither

  corroborated nor presented in any context that would permit this Court to evaluate their

  reliability. Without more, the conclusion could just as easily be drawn that Basciano’s estimates

  of the joker poker machine revenue were made either flippantly or in an attempt to aggrandize his

  gambling business. Put simply, the statements bear no indicia of accuracy and cannot alone serve

  as the basis of a forfeiture calculation.

          Because the nature of the evidence relied upon by the Government in making a forfeiture

  calculation is overly speculative, the Government’s request for a preliminary order of forfeiture

  in the amount of $6,000,000 for joker poker gambling is denied. See Corrado, 227 F.3d at 557-

  58. However, should the Government wish to provide the Court with additional evidence to

  support its contentions, a hearing will be scheduled as appropriate.

          C.      Tribute Money

          The Government also seeks $200,000 in “tribute money” that Basciano received from

  individuals below him in the Bonanno crime family hierarchy in exchange for protection and

  service. (Gov. Mem. at 28.) At trial, Cicale testified that he personally collected $300,000 in


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  tribute money in December 2004 and paid $200,000 of that money to Basciano. (Tr. at 5847-48.)

  Furthermore, the Government introduced recorded conversations into evidence in which

  Basciano discussed his plan to levy “tax[es]” on Bonanno crime family subordinates.

  (Government Trial Exhibit (“Gov. Exh.”) 205A.) This evidence adequately supports the

  Government’s calculation and conservatively values the tribute monies paid to Basciano over the

  course of his more than twenty years of affiliation with the Bonanno crime family. (See Tr. at

  4277.) The Government’s motion for a preliminary order for $200,000 in forfeited assets is

  therefore granted.

  II.    DeFilippo

         A.      Joker Poker Gambling

         DeFilippo was convicted by the jury of running an illegal gambling business involving

  joker poker machines. The Government now seeks $1,500,000 in forfeited assets for this illegal

  activity. The evidence at trial amply supports this calculation. Richard Cantarella (“Cantarella”)

  testified that he received payments from DeFilippo from joker poker gambling on behalf of Joe

  Massino (“Massino”), then-boss of the Bonanno crime family, in 1992. (Tr. at 4261-63.) Four

  other witnesses testified that DeFilippo operated joker poker machines throughout New York

  City for many years. (Tr. at 2782 (Salvatore Vitale (“Vitale”)), 4718-19 (James Tartaglione),

  5748 (Cicale), 7297 (Generoso Barbieri).) The Government also introduced evidence of a

  wiretapped conversation in which DeFilippo discussed a joker poker machine which earned $800

  per day, and cryptoanalysis of records seized from John Joseph Spirito (“Spirito”), a “soldier”

  under DeFilippo, which indicated that DeFilippo managed at least eleven joker poker machines.

  The cryptoanalysis further revealed joker poker meter totals of approximately $500 per day. In


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  light of this evidence, a calculation of $500 per week for ten years is a conservative estimate of

  the proceeds of DeFilippo’s joker poker gambling business. The Government’s motion for a

  preliminary order that DeFilippo forfeit $1,500,000 is therefore granted.

         B.      Sports-Betting

         The jury also convicted DeFilippo of RICO conspiracy based on his role as a “bookie” for

  the Bonanno crime family enterprise’s sports-betting business from 1990 until 2003. At trial,

  numerous witnesses testified as to DeFilippo’s work as a bookie, including Vitale, who stated

  that he and Massino transferred their sports betting business to DeFilippo, and Cantarella, who

  testified that DeFilippo ran an illegal sports-betting business until 2002. (Tr. at 2777-79, 4269-

  71.) In addition, sports-betting records obtained through a search warrant showed that

  DeFilippo’s business accepted between $7,800 and $50,695 in illegal wagers per day between

  2001 and 2002. (Government Trial Exhibits (“Gov. Exhs.”) 386, 387.)

         The Government now seeks a total of $2,839,200 in forfeited assets from DeFilippo

  based on a calculation of $7,800 in illegal betting wagers made per day for one year. (Gov.

  Mem. at 42-43.) The Government’s proposal of one year as a basis of the forfeiture calculation

  is certainly conservative when considering the evidence of the long-standing nature of the

  Bonanno crime family enterprise’s illegal sports-betting business and DeFilippo’s participation

  within it. In light of the evidence that the DeFilippo’s business accepted wagers exceeding

  $50,000 on a daily basis, $7,800 is a conservative number upon which to tabulate the total

  forfeiture amount. The Government is therefore entitled to a preliminary forfeiture order of

  $2,839,200 from DeFilippo’s illegal sports-betting business.

         C.      Loansharking


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       Finally, the Government seeks $37,587 from DeFilippo based on the jury’s finding that

he extortionately collected debt payments. (Gov. Mem. at 43.) In addition to testimony by Vitale

as to DeFilippo’s involvement in loansharking, the Government entered into evidence records

regarding loans collected jointly by DeFilippo and his “soldier” Emanuel Guaragna (“Guaragna”)

from 1996 until 2002. (Gov. Exh. 311A, 311B.) These records reflect that DeFilippo and

Guaragna collected a total of $75,172 in illegal debt payments. The Government seeks half of

that total in forfeited assets from DeFilippo. Because defendants are jointly and severally liable

for all foreseeable proceeds derived from the racketeering activity of the criminal enterprise, and

because the evidence established that DeFilippo and Guaragna actually collected twice as much

money, forfeiture in the amount of $37,587 is a conservative estimate of DeFilippo’s revenue

from loansharking. See Edwards, 303 F.3d at 643-44. The Government’s motion for a

preliminary order of forfeiture for $37,587 is therefore granted.

IV.    Conclusion

       As detailed above, the Government’s motion for a preliminary order of forfeiture as to

Basciano is GRANTED in part and DENIED in part; the Government’s motion for a preliminary

order of forfeiture as to DeFilippo is GRANTED, and Basciano’s motion to stay the forfeiture

proceedings is DENIED. A preliminary order of forfeiture is hereby entered in the amount of

$5,400,000.00 as to Basciano and $4,376,787.00 as to DeFilippo.

SO ORDERED.

                                                       /s/ Nicholas G. Garaufis
Dated: January 4, 2007                                Nicholas G. Garaufis
Brooklyn, N.Y.                                        United States District Judge




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